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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

  “JOHN DOE,”                             )
                                          )
                  Plaintiff,              )
                                          )
             v.                           )           1:16-cv-01266-TWP-DML
                                          )
  BUTLER UNIVERSITY,                      )
  JAMES M. DANKO,                         )
  LEVESTER JOHNSON,                       )
  STACIE COLSON PATTERSON,                )
  ANNE FLAHERTY,                          )
  SALLY CLICK,                            )
  ERIN McCLUNEY,                          )
  ROBERT PADGETT,                         )
  MARTHA DWIZLIK, and                     )
  “JANE SMITH,”                           )
                                          )
                  Defendants.             )
  ________________________________ )
                                          )
  UNITRIN PREFERRED INSURANCE             )
  COMPANY,                                )
                                          )
                  Intevening Plaintiff,   )
                                          )
             v.                           )
                                          )
  “JOHN DOE,” “JANE SMITH,” and           )
  PRIVILEGE UNDERWRITERS, INC.,           )
                                          )
                  Intervening Defendants. )

           MOTION FOR VOLUNTARY DISMISSAL OF CLAIMS
       Defendant Jane Smith (“Smith”) hereby moves, under Rule 41(a)(2) of the Federal

  Rules of Civil Procedure, to voluntarily dismiss her counterclaim against Unitrin Pre-

  ferred Insurance Company (“Unitrin”) and crossclaim against Privilege Underwriters,

  Inc. (“PURE”) (Filing No. 87, at CM/ECF pp. 11-17). In support of this motion, Smith

  states as follows:
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       1.       Plaintiff filed this action against Smith on August 9, 2016, alleging that Smith

  falsely accused him of raping her while they were both students at Butler University. (Fil-

  ing No. 13, at CM/ECF pp. 9-13.) Plaintiff alleged that, as a consequence, he was expelled

  from the university. (Id. at CM/ECF pp. 13-18.)

       2.       Smith denied plaintiff’s allegations and filed a counterclaim against him for as-

  sault, battery, and intentional infliction of emotional distress. (Filing No. 51, at CM/ECF

  pp. 35-37.)

       3.       Smith also tendered plaintiff’s lawsuit to Unitrin and PURE for coverage under

  liability insurance policies that they had issued to her parents. (Filing No. 87, at CM/ECF

  pp. 11-15.)

       4.       Unitrin intervened in the lawsuit and filed a complaint seeking a declaratory

  judgment that its policy does not cover plaintiff’s claims. (Filing No. 84, at CM/ECF pp.

  8-9.) Unitrin also sued PURE to recover contribution from PURE for Unitrin’s payment

  of Smith’s defense costs. (Id. at CM/ECF p. 9.)

       5.       Smith answered Unitrin’s complaint and filed a counterclaim against Unitrin

  seeking a declaration that she is entitled to coverage under the policy. (Filing No. 87, at

  CM/ECF pp. 12-13.) Smith also filed a crossclaim against PURE, alleging that PURE

  breached its policy by denying coverage. (Id. at CM/ECF pp. 13-16.)

       6.       On December 13, 2017, all parties filed a stipulation of dismissal regarding

  plaintiff’s and Smith’s claims against each other. (Filing No. 106.) Hence, no claims re-

  main pending between plaintiff and Smith. (Filing No. 107.)




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       7.   Nonetheless, Smith’s counterclaim against Unitrin and crossclaim against

  PURE have remained pending. Smith now seeks to voluntarily dismiss those claims be-

  cause they are moot in light of the fact that plaintiff has dismissed his claims against her. 1

       WHEREFORE, Jane Smith respectfully requests that the Court enter an order dis-

  missing her counterclaim against Unitrin and her crossclaim against PURE (Filing No.

  87, at CM/ECF pp. 11-17.)

       Dated: February 23, 2018.             Respectfully submitted,

                                             s/Christopher A. Wadley
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                                             Attorney for “Jane Smith”




  1Notably, Unitrin moved to dismiss Smith’s counterclaim. (Filing No. 98.) Unitrin’s motion to
  dismiss will be moot if the court grants Smith’s instant motion.


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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2018, a copy of the foregoing was filed electron-

  ically. Service of this filing will be made on ECF-registered counsel by operation of the

  Court’s electronic filing system. Parties may access this filing through the Court’s system.

       Dated: February 23, 2018.            Respectfully submitted,

                                            s/Christopher A. Wadley
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